 1                                                                     Honorable Christopher M. Alston
                                                                                             Chapter 7
 2
                                                                                      Location: Seattle
 3
                               UNITED STATES BANKRUPTCY COURT
 4                             WESTERN DISTRICT OF WASHINGTON
 5
      In re                                              No. 17-14070
 6
      REYNALDO VINLUAN,                                  OBJECTION TO AMENDED
 7
                                                         EXEMPTIONS
 8                                   Debtor.

 9
              Edmund J. Wood, the Chapter 7 Trustee herein, by and through the undersigned attorney,
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11   hereby objects to the amended exemptions of the debtor as described below:

12            1.     To the extent that the debtor is attempting to claim an exemption in excess of the

13   value permitted by federal or state law, the Trustee objects to the assertion of such an exemption,
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     including but not limited to the debtor’s claim of exemption in the amount of “100% of fair
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     market value” pursuant to RCW 6.13.030 where such statute is limited in dollar amount;
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              2.     To the extent that the debtor is attempting to claim an exemption for property for
17
18   which no exemption is permitted under federal or state law, the Trustee objects to the assertion

19   of such an exemption;
20            3.     To the extent that the debtor does not describe an asset or other item of property
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     for which an exemption is claimed with particularity, the Trustee objects to the assertion of such
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     an exemption;
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              4.     To the extent that the actual value of an asset exceeds the valuation of the asset by
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25   the debtor, the Trustee objects to the claim of any exemption, including but not limited to the

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27
                                                                                KATHRYN A. ELLIS, ESQ.
28                                                                                      5506 6th Ave S
                                                                                           Suite 207
                                                                                      Seattle, WA 98108
     OBJECTION TO AMENDED EXEMPTIONS - 1                                               (206) 682-5002


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 1   valuation of the debtor’s residence, which the debtor valued at $391,000.001; and
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               5.        To the extent that the debtor has not provided information and/or documentation
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     to the Trustee and/or have failed to cooperate with the Trustee regarding the investigation of his
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     financial affairs and/or concealed any property, the Trustee objects to any claims of exemption
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 6   by the debtor.

 7             The Trustee is objecting, in part, to preserve his rights to object pending receipt of more

 8   information about the debtor’s assets. The Trustee reserves the right to assert any other basis for
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     her objection or otherwise amend this objection as she may determine to be appropriate at a later
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     date.
11
               DATED this 20th day of November, 2017.
12
13
                                                            By: /s/ Kathryn A. Ellis
14                                                          Kathryn A. Ellis, WSBA #14333
                                                            Attorney for Trustee
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                         The debtor’s original Schedule A value of the residence was $391,000.00 and liens of $428,167.14
                         were listed on Schedule D. Accordingly, the debtor had $0.00 “net value” on the date of filing and
27                       therefore is not entitled to, and did not, claim an exemption.
                                                                                            KATHRYN A. ELLIS, ESQ.
28                                                                                                    5506 6th Ave S
                                                                                                         Suite 207
                                                                                                    Seattle, WA 98108
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